              Case 23-50096-rlj12                 Doc 1      Filed 06/01/23 Entered 06/01/23 15:36:51                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      12
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                2B Farms, a Texas General Partnership

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9397 CR 3114
                                  Snyder, TX 79549
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Scurry                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    2B Farms, a Texas General Partnership                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,                                                                                                                      general
     attach a separate list                          Debtor      Terry M. Robinson and Rebecca A. Robinson                     Relationship               partners
                                                                 Northern District of
                                                                 Texas, Lubbock
                                                     District    Division               When  6/01/23                          Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


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         Name




16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 1, 2023
                                                  MM / DD / YYYY


                             X   /s/ Terry M. Robinson                                                    Terry M. Robinson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   General Partner




18. Signature of attorney    X   /s/ Todd J. Johnston                                                      Date June 1, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Todd J. Johnston 24050837
                                 Printed name

                                 McWhorter, Cobb & Johnson, LLP
                                 Firm name

                                 P.O. Box 2547
                                 Lubbock, TX 79408
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     806/762-0214                  Email address      tjohnston@mcjllp.com

                                 24050837 TX
                                 Bar number and State




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                          Internal Revenue Service
                          P.O. Box 249
                          Memphis, TN 38101


                          U.S. Attorney General
                          U.S. Department of Justice
                          10th & Pennsylvannia Avenue
                          Washington, DC 20530


                          U.S. Attorney's Office
                          Room 700, 1205 Texas Avenue
                          Lubbock, TX 79401


                          Texas Attorney General
                          P.O. Box 12548
                          Austin, TX 78711


                          AgriSompo North America
                          P.O. Box 69
                          Wolfforth, TX 79382


                          C. Dunham Biles
                          Steptoe & Johnson, PLLC
                          500 North Akard Street, Suite 3200
                          Dallas, TX 75201


                          Denny Family Trust
                          7501 98th Street
                          Lubbock, TX 79424


                          HTLF Bank, successor by merger to
                          First Bank & Trust
                          4500 College Ave.
                          Snyder, TX 79549


                          HTLF Bank, successor by merger to First
                          First Bank & Trust
                          4500 College Ave.
                          Snyder, TX 79549
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                      John Deere Financial
                      P.O. Box 4450
                      Carol Stream, IL 60197


                      John H. Lovell
                      Lovell, Lovell, Isern & Farabough, LLP
                      112 SW 8th Ave, Suite 1000
                      Amarillo, TX 79101


                      Rabo AgriFinance, LLC
                      c/o Michael R. Johnson
                      Ray Quinney & Nebeker, P.C.
                      36 South State Street, Suite 1400
                      Salt Lake City, UT 84111


                      Robinson Farms, LP, a Texas Limited Part
                      9397 County Road 3114
                      Snyder, TX 79549


                      Stirling Farm
                      c/o James R. Stirling
                      2700 34th St.
                      Snyder, TX 79549


                      Triple K
                      P.O. Box 338
                      Post, TX 79356


                      Vickey Speed
                      5512 Bent Tree Dr.
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